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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION
Jill Babcock, et al.
_______________________________,

               Plaintiff(s),
                                                                      22-12951
v.                                                           Case No. __________________
                                                             HON. MARK A. GOLDSMITH
Michigan, State of, et al.
_______________________________,

            Defendant(s).
_________________________________/

                         ORDER STRIKING DOCUMENT (Dkt. 26
                                                       ___)
                                                       Def. Mot. to Dismiss
        The Court has reviewed the following document: ________________________________

(Dkt. ____).
      26     The Court finds that it should be stricken for the following reason(s):

       Missing RULQVXIILFLHQWstatement of QRQconcurrence. See LR 7.1(a).

     ✔ Over-length. See LR 7.1(d)(3).


        Wrong font size. See LR 5.1(a)(3).

        Missing required information (e.g., concise statement of issues, controlling or most

        appropriate authority, etc.). See LR 7.1(d)(2).

        Improperly formatted (e.g., single-spaced, improper margins, missing page numbers,

        etc.). See LR 5.1(a)(2).

        Does not comply with the Case Management Order in this case for the following reasons:

        ________________________________________________________________________

        ________________________________________________________________________

        _______________________________________________________________________.
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            Defendant State of Michigan's motion does not contain the local rule
    ✔ Other:__________________________________________________________________

       certification required by this Court's December 13, 2022 order (Dkt. 4).
       ________________________________________________________________________

       _______________________________________________________________________.
                                             Defendant
Accordingly, the Court strikes the document. ______________________ shall file a FRUUHFWHG
                                                          March 15, 2023
document that complies with all requirements on or before ____________________.

       SO ORDERED.


                                                    s/ Mark A. Goldsmith
Dated: March 13, 2023
       Detroit, Michigan                            MARK A. GOLDSMITH
                                                    United States District Judge

                               CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served upon counsel of record
and any unrepresented parties via the Court's ECF System to their respective email or First Class
U.S. mail addresses disclosed on the Notice of Electronic Filing on ______________________.
                                                                    March 13, 2023
                                                    s/ Karri Sandusky
                                                    .DUUL6DQGXVN\
                                                    Case Manager
